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c12)   United States Patent                                                   (IO)   Patent No.:     US 8,941,137 B2
       Margalit                                                               (45)   Date of Patent:     *Jan. 27, 2015

(54)   LIGHT EMITTING DIODE PACKAGE AND                                                    438/455, 492, 22,123, 27, 28, 29; 362/311,
       METHOD OF MANUFACTURE                                                                                                    362/351
                                                                                 See application file for complete search history.
(76)   Inventor:    Mordehai Margalit, Zichron Yaaqov
                    (IL)                                               (56)                        References Cited

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(65)                   Prior Publication Data                               2006/0284321    Al   12/2006 Wu et al.
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       6, 2011, provisional application No. 61/449,686, filed          Primary Examiner - Mary Wilczewski
       on Mar. 6, 2011.                                                Assistant Examiner - Erik T Peterson
                                                                       (74) Attorney, Agent, or Firm - Intrinsic Law Corp.;
(51)   Int. Cl.                                                        Ibrahim M. Hallaj
       H0JL33/00                  (2010.01)
                                                                       (57)                     ABSTRACT
       H0JL21/00                  (2006.01)
       H0JL33/52                  (2010.01)                            A light emitting diode (LED) device and packaging for same
       H0JL33/58                  (2010.01)                            is disclosed. In some aspects, the LED is manufactured using
       H0JL 33/50                 (2010.01)                            a vertical configuration including a plurality oflayers. Certain
       H0JL 33/60                 (2010.01)                            layers act to promote mechanical, electrical, thermal, or opti-
(52)   U.S. Cl.                                                        cal characteristics of the device. The device avoids design
       CPC ................ H0JL 33152 (2013.01); H0JL 33/58           problems, including manufacturing complexities, costs and
              (2013.01); H0JL 33/50 (2013.01); H0JL 33/60              heat dissipation problems found in conventional LED
                           (2013.01); H0JL 2933/005 (2013.01)          devices. Some embodiments include a plurality of optically
       USPC .......... 257/98; 257/99; 257/E33.067; 438/26;            permissive layers, including an optically permissive cover
                                               438/27; 438/29          substrate or wafer stacked over a semiconductor LED and
                                                                       positioned using one or more alignment markers.
(58)   Field of Classification Search
       USPC ........ 257/88, 98, 99, 100, 676, 778; 438/458,                                11 Claims, 18 Drawing Sheets

                                      1001


                                         ~


                                                                  LENS



                                                             Cover substrate



                                                                 Phospor/QD



                                                                 GaN layers



                                                                  Carrier




                                             1020
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                                                                100




                                GaN layers




                                 Sapphire




                                                          110




                                  Fig. 1
                                (Prior Art)
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                                                 220




    225
                                   Carrier




                                  GaN layers                 ------200



                                   Sapphire




                                                       210


              230




                                     Fig. 2
                                   (Prior Art)
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         30


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                                                  300



   325


     ""                          GaN layers




                                   Carrier




                  320




                                   Fig. 3
                                 (Prior Art)
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        40


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                         430                       400


  425                                               u



    "~                          GaN layers




                                 Carrier




                  420




                                 Fig. 4
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                                                   540




                                                           500




                                Fig. 5
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              60


                   \
                                                            660
                                              650




                                            LENS


                                        Cover Substrate


  640----     ..                               Phospor/QD


            630                             GaN
                                                                        645

                                           Carrier
                                                                  600
              625



                   side view                          620




                                            Fig. 6
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              710

                                                    750




                                                     ......-+---+---760


   730




                                  700




                                  Fig. 7
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    80


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                                       LENS




           Stand off                 Phospor/QD               Stand off

                                     GaN layers

    837                                                                   837
                                      Carrier




           side view                                    845




                                        Fig. 8
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      90

           ~


                                   LENS



                                Cover substrate



                                 Phospor/QD



                                GaN layers




                                   Carrier




       920        922




                                    Fig. 9
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      1001


         ~

     1030
                                       LENS



                                    Cover substrate



                                     Phospor/0D



                                     GaN layers



                                       Carrier




                    1022
             1020




                                       Fig. 10
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           1101~




                                        LENS



                                    Cover substrate
  1100


                                      Phospor!OD



                                      GaN layers



 1125
                                        Carrier



                                    Passivation layer



                      1122
            1120
                                                        1170




                                        Fig. 11
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           1201\




                                         LENS



                                   Cover substrate



                                    Pl,ospor/00



                                        GaN layers



                                          Carrier

   1202




                                 1270




                                        Fig. 12
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          1301\

                                    LENS



                                Cover substrate



                                 Phospo,/QD



                                 GaN layers



                                    Carrier



                                Passivation layer




                 1370




                                   Fig. 13
    Case 6:21-cv-00292-ADA Document 1-1 Filed 03/25/21 Page 16 of 25


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          1401\




                                   LENS



  1430                          Cover substrate



                                 Phospor/0D



                                 GaN layers



                                   Carrier




   1470                                                          1420
                   1472

                                             1474




                                 Fig. 14
    Case 6:21-cv-00292-ADA Document 1-1 Filed 03/25/21 Page 17 of 25


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           1501 \




                                     LENS



  1530
                                  Cover substrate



                                   PhosporiQD



                                   GaN layers



                                     Carrier




    1570

                      l
                     1572




                                    Fig. 15
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    1630
                                     LENS



                                  Cover substrate



                                   Phospor/QD



                                   GaN layers



                                     Carrier
 1670----




                                                           1600

             1680

                    1685




                                    Fig. 16
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           1701\

                                   LENS



                                Cover substrate



                                 Phospor/QD



                                 GaN layers



                                   Carrier




    1780




                                   Fig. 17
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                                                                                                                                 Fig. 18
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                                                      US 8,941,137 B2
                               1                                                                       2
     LIGHT EMITTING DIODE PACKAGE AND                                   by epitaxial growth or other chemical or physical deposition
          METHOD OF MANUFACTURE                                         techniques of a plurality of layers. Certain layers act to pro-
                                                                        mote mechanical, electrical, thermal, or optical characteris-
                RELATED APPLICATIONS                                    tics of the device. The device avoids design problems, includ-
                                                                   5    ing manufacturing complexities, costs and heat dissipation
   This application is related to and claims the benefit and
                                                                        problems found in conventional LED devices. Some embodi-
priority of U.S. Provisional Application Nos. 61/449 ,685 and
61/449,686, both filed on Mar. 6, 2011, which are hereby                ments include a plurality of optically permissive layers,
incorporated by reference.                                              including an optically permissive cover substrate or wafer
                                                                        stacked over a semiconductor LED and positioned using one
                                                                   10
                    TECHNICAL FIELD                                     or more alignment markers.
                                                                           Some embodiments are directed to a light emitting device,
   The present application is directed to a light emitting diode        comprising a semiconductor LED including doped and intrin-
(LED) device implemented on a wafer cover layer and pro-                sic regions thereof; a conducting carrier layer disposed proxi-
vided with features permitting efficient and repeatable manu-      15   ma! to a first surface of said semiconductor LED and sepa-
facture of the same.
                                                                        rated therefrom by a metallic interface; an optically
                      BACKGROUND                                        permissive layer proximal to a second surface of said semi-
                                                                        conductor LED, said first and second surfaces of said semi-
   A light emitting diode (LED) is a semiconductor device               conductor LED being on opposing faces thereof; an optically
that is configured to receive electrical power or stimulation      20   definable material proximal to or within said optically per-
and to output electromagnetic radiation, commonly in the                missive layer that affects an optical characteristic of emitted
visible range of the spectrum (light). Portions of a LED com-           light passing therethrough; and an optically permissive cover
prise doped semiconductor materials that operate to combine             substrate covering at least a portion of the above components.
charge in a way that releases said light energy from the body              Other embodiments are directed to ways of making such a
of the LED material. The output energy or light is determined
                                                                   25   light emitting device or a group of devices on a wafer in a
by the band gap of the semiconductor materials and operating
                                                                        manufacturing context. Specifically, embodiments are
conditions of the LED.
   Light emitting diodes (LEDs) compare favorably to other              directed to a method for making a light emitting device, the
sources of light and are especially useful in certain applica-          method comprising forming a plurality of doped layers in a
tions and markets. For example, LED lighting generally pro-             light emitting device (LED) disposed on conductive carrier
vides advantages with respect to energy efficiency, compact,       30   layer; forming a recess in said conductive carrier layer and
rugged, long-lasting design and form factor, as well as other           said LED so as to allow electrical contact with a first doped
features. LED lighting compares favorably with other sources            layer of said LED at a depth of said first doped layer in said
in the amount oflight energy generated in the visible electro-          LED; providing electrical contact to a second doped layer of
magnetic spectrum compared to the infra-red or heat energy              said LED proximal to said conductive layer so as to bias the
wasted by the light source. In addition, LED lights include        35   LED using a bias voltage applied between said first and
fewer environmentally damaging components when com-                     second doped layers of the LED; and securing the LED to an
pared to other light forms, and therefore provide better com-           optically permissive cover substrate using an optically per-
pliance with restrictions on hazardous substances (RohS)                missive layer including an optically definable material
regulations.                                                            through which light generated by said LED can pass.
   That said, conventional LED devices can be relatively           40
costly to manufacture by some metrics when compared to                        BRIEF DESCRIPTION OF THE DRAWINGS
other light sources. One reason for this is the exacting pack-
aging requirements for manufacturing LEDs. LED packaging                   For a fuller understanding of the nature and advantages of
calls for proper clean conditions, micro-fabrication facilities         the present concepts, reference is made to the following
similar to other semiconductor manufacturing operations,           45   detailed description of preferred embodiments and in connec-
sealing requirements, optical requirements, the use of phos-            tion with the accompanying drawings, in which:
phor in LED applications, as well as packaging that is                     FIG. 1 illustrates a semiconducting LED layer above a
designed to handle the conduction of heat generated in the              sapphire layer according to the prior art;
devices.                                                                   FIG. 2 illustrates an exemplary light emitting device or
   Conventional LED packaging includes silicon (Si) or             50   LED formed by laser liftoff according to the prior art;
Ceramic based carrier substrates. The LEDs can be mounted                  FIG. 3 illustrates an exemplary light emitting device result-
on the carrier, or alternatively the many LEDs can be mounted           ing from the laser liftoff according to the prior art;
on a wafer of the carrier and the LEDs are singulated at the               FIG. 4 illustrates a device having a metal pad deposited on
end of the packaging process. The wafer based approach is               a portion of the GaN layers of the device;
termed wafer level assembly packaging (WLP). However,              55      FIG. 5 illustrates a top view of the above device;
these conventional techniques require the use of a carrier                 FIG. 6 illustrates a cross sectional view of an exemplary
substrate to support the LED, which can double the cost of              light emitting device;
making and packaging the LED device. In addition, the car-                 FIG. 7 illustrates an LED device in a top view thereof;
rier substrate greatly increases the thermal resistivity of the            FIG. 8 illustrates another exemplary cross sectional view of
device and adversely affects its heat removal characteristics.     60   a LED device;
   Accordingly, there is a need for LED devices that do not                FIG. 9 illustrates a light emitting device similar to those
suffer from some or all of the above problems.                          described above except that a recess is etched into the carrier
                                                                        layer;
                         SUMMARY                                           FIG. 10 illustrates yet another exemplary light emitting
                                                                   65   device cross section;
  A light emitting diode (LED) device and packaging for                    FIG.11 illustrates an exemplary light emitting device simi-
same is disclosed. In some aspects, the LED is manufactured             lar to the last described devices including a passivation layer;
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                               3                                                                        4
   FIG. 12 shows a similar device to those described above,              210. The resulting structure after the step of laser liftoff is
with its passivation layer being cut;                                    shown in FIG. 3. In the case of a Silicon Carbide wafer there
   FIG. 13 illustrates a shaped edge of the above passivation            is no need for the laser lift off and the structure contains the
layer in a light emitting device;                                        Silicon Carbide wafer. In the case of Silicon, an alternative
   FIG. 14 illustrates another exemplary light emitting LED         5    option to laser lift off is the chemical etching of the Silicon
device;                                                                  wafer.
   FIG. 15 illustrates yet another exemplary light emitting                 FIG. 3 illustrates a light emitting device 30 comprising a
device;                                                                  semiconductor LED layer 300, a metallic interface 325 and a
   FIG. 16 illustrates still another embodiment ofa light emit-          Copper or Silicon (or similar) carrier layer 320.
ting device;
   FIG. 17 illustrates an exemplary light emitting LED
                                                                    1
                                                                     °      FIG. 4 illustrates a device similar to that of FIG. 3 with a
                                                                         metal pad 430 deposited on a portion of the GaN layers 400 of
device; and
                                                                         the device. In an embodiment, the GaN layer comprises a
   FIG. 18 illustrates how more than one LED device like
                                                                         P-I-N junction having strata therein including a P-type doped
those described above can be manufactured on a single manu-
                                                                         layer, a N-type doped layer and an intrinsic (I) semiconductor
facturing platform or wafer.                                        15
                                                                         layer in the middle between the P and N type layers. In
                DETAILED DESCRIPTION                                     operation, electrons flowing from the N type layer, recombine
                                                                         with holes flowing from the P-type layer in the intrinsic layer.
   Modem LED devices are based on semiconducting mate-                   The recombination results in the emission of a photon with a
rials and their properties. For example, some LEDs are made         20   wavelength corresponding to the band gap of the semicon-
using gallium nitride (GaN) which is a type ofbandgap semi-              ductor.
conductor suited for use in high power LEDs. GaN LEDs are                   FIG. 5 illustrates a top view of the same device. The figure
typically epitaxially grown on a sapphire substrate. These               shows the relative configuration of the metal pad 530 con-
LEDs comprise a P-I-N junction device having an intrinsic (I)            nected to a mesh, labyrinthine or convoluted or serpentine or
layer disposed between a N-type doped layer and a P-type            25   fingered top electrode 540, which conducts bias current in the
doped layer. The device is driven using suitable electrical              top layer of the GaN LED layers 500.
driving signals by way of electrodes or contacts coupled to the             It should be appreciated that GaN type LEDs are not the
N and the P type portions of the LED. Electronic activity                only kind of LED materials that can be employed in the
causes the emission of visible electromagnetic radiation                 present discussion, but that the present description is merely
(light) from the intrinsic portion of the device according to the   30   illustrative so that those skilled in the art can appreciate some
electromotive force applied thereto and configuration of the             preferred embodiments and methods for making and design-
device.                                                                  ing the present LEDs. Similarly, in the following preferred
   The embodiments described and illustrated herein are not              and exemplary illustrations, it is to be understood that many
meant by way of limitation, and are rather exemplary of the              other similar and equivalent embodiments will be apparent to
kinds of features and techniques that those skilled in the art      35   those skilled in the art and which accomplish substantially the
might benefit from in implementing a wide variety of useful              same result. This is true as to variations in the geometry,
products and processes. For example, in addition to the appli-           layout, configurations, dimensions, and choice of materials
cations described in the embodiments below, those skilled in             and other aspects described in the present examples. Specifi-
the art would appreciate that the present disclosure can be              cally, certain described elements and steps can be omitted, or
applied to making and packaging power integrated circuit            40   others can be substituted or added to that which is described
(IC) components, radio frequency (RF) components, micro                  herein for the sake of illustration without materially affecting
electro-mechanical systems (MEMS), or other discrete com-                the scope of the present disclosure and inventions. Further-
ponents.                                                                 more, the embodiments can also be used for additional elec-
   FIG.1 illustrates a light emitting device or LED device, 10           tronic devices such as power transistors (power IC), RF com-
such as those described above, having a GaN layer 100, which        45   ponents (RFIC) as well as Micro Electro Mechanical systems
is a semiconductor LED, disposed on a sapphire layer 110.                (MEMs).
The device of FIG. 1 is usually processed using some semi-                  FIG. 6 illustrates a cross sectional view of an exemplary
conductor micro fabrication techniques. In some examples,                light emitting device 60. The device 60 includes the GaN
portions of the LED (GaN layer) are etched away or removed               LED layer 600 separated from the carrier layer 620 by a
using techniques known to those skilled in the art. Other           50   metallic interface 625 as described above. Metal pad 630 is
applications of conducting and non-conducting layers are                 disposed on the LED layer 600.
applied to such a base design, along with channels and vias                 An optically transparent or transmissive adhesive layer 640
for various functionality as will be described below.                    is placed against the opposing side of the LED material 600
   FIG. 2 illustrates an exemplary light emitting device or              than the carrier 620 is (meaning, one face of the LED 600 is
LED 20 including a semiconductor (e.g., GaN) layer 200              55   proximal to the carrier 620 and the other opposite face of the
disposed on a sapphire, or Silicon wafer 210. The LED layer              LED 600 is proximal to the transparent adhesive layer 640.
200 is further coupled on one side to a thermally and electri-           The transparent or optically permissive adhesive layer 640
cally conductive carrier layer 220, which may be Copper or               may be composed of silicone or some other suitable material
Silicon. A metallic interface 225 separates but provides an              that can provide adhesion or epoxy quality to bond or
interface for GaN layer 200 and carrier layer 220. In another       60   mechanically couple elements oflight emitting device 60. In
embodiment, the LED layers are grown on a Silicon Carbide                an additional embodiment, the adhesive layer may be photo
wafer, the Silicon Carbide wafer is electrically conductive              definable. In case the Silicon Carbide wafer is kept, in an
and optically transparent. Hence it does not need to be                  additional embodiment, the adhesive is index matched to the
removed and may be maintained. The electrically conductive               Silicon Carbide to reduce optical reflections at the interface.
aspect of it will be addressed in the specific description.         65   In other cases the adhesive layer refractive index, or compo-
   Laser liftoff is applied (represented by 230) to cause sepa-          sition, can be designed to minimize reflections from the GaN
ration of LED GaN layer 200 from underlying sapphire layer               layers.
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                                5                                                                        6
    Within, or contiguous to transparent or optically permis-             carrier layer 920 from the GaN LED layers 900. The recess
sive adhesive layer 640 is a region containing phosphor and/              922 can form the basis for electrical contact points for the
or quantum dot material (QD) 645. In operation, photons                   device.
emitted from LED layer 600 travel through said optically                     FIG. 10 illustrates yet another exemplary light emitting
transparent adhesive layer 640 and the region containing the         5    device 1001 cross section. Here, the recess 1022 has been
phosphor and/or quantum dots 645. This causes color (wave-                etched or created deeper into the device so that it extends
length) control and emission of selective desired light out of            through the carrier layer 1020 and the metallic interface 1025
the LED device as further described herein.                               and also into GaN layer 1000 all the way to reach the metal
    One, two or more alignment marks 650 are provided on or               pad 1030. Electrical contact with the exposed components is
                                                                     10   possible, or the assembly can be further filled with suitable
in the transparent adhesive layer 630 and are used to align the
                                                                          materials as described below.
LED body over a cover substrate 655 sheet and generally in an
                                                                             FIG.11 illustrates an exemplary light emitting device 1101
extended wafer structure during manufacture. The cover sub-
                                                                          similar to the last described devices including a passivation
strate 655 provides structural presence and mechanical cou-               layer 1170 that has been applied to surround certain portions
pling for elements of the LED device 60. The cover substrate         15   of the device around LED semiconducting layer 1100, metal-
655 is also transparent or optically permissive to light in the           lic interface 1125, and carrier layer 1120. The passivation
wavelength emitted by LED layer 600 and Phosphor layer.                   material 1170 fills the cavity or recess 1122 described earlier.
    In some embodiments, an optical lens 660 may be placed                The passivation layer 1170 can comprise a non conductive
on the cover substrate 655 substantially above the body of the            layer and can be composed of Si 02, SiN, AlN, Al2O3 or an
LED emitting portions of the device 60. The lens 660 can act         20   organic material such as epoxy, or electrophoretic deposited
to spread, diffuse, collimate, or otherwise redirect and form             paint as used in the car industry, or spray coated. In one
the output of the LED.                                                    embodiment, the passivation layer 1170 has a thickness that
    FIG. 7 illustrates an LED device 70 in a top view thereof.            ranges from 1 to 40 microns, depending on the material and
The device includes substantially the elements described                  required electrical passivation level. In an embodiment, the
above with regard to FIG. 6, including an LED emitting body          25   passivation layer 1170 covers in a conformal manner the
700 and positioning or alignment markers 750, lens 760,                   space between LEDs during manufacture. In another embodi-
arranged on a patterned cover substrate 710, and including                ment the spacing between the LEDs is not covered, or alter-
metal pad 730 thereon. In an embodiment, the LED is posi-                 natively is revealed in a mechanical process such as dicing.
tioned with respect to said alignment marks 750. Between                  The other elements of LED device 1101 are similar to similar
adjacent LEDs on a wafer there is a space of, e.g., 50 microns       30   elements described above.
for subsequent processing and dicing of the LEDs.                            In an additional embodiment the passivation layer can be
    The LEDs are individually assembled on a carrier wafer,               designed to be reflective by incorporating appropriate mate-
with the GaN layers facing the carrier wafer. In case of Silicon          rial particles within such as Zn 0. The passivation layer is also
Carbide, the Silicon Carbide would be facing the carrier. The             removed to enhance the heat conduction of the LED. Hence to
carrier wafer layer is of optically transparent material such as     35   optimize the heat conductance, a maximal contact should be
glass or plastic as described above. The cover can include                made between the metal and metal pads on the LED and the
other optical components such as lenses or light diffusing                metal layer. This is done by opening the largest possible area
structures or light guiding structures. As mentioned, the phos-           on the passivation layer and preferably greater than 80%. If
phor or quantum dot layers enable the conversion of the light             the LED is designed with a thermal pad structure then the P
generated by the LED to other colors. The most common is             40   connection can be connected to thermal and P pad or alterna-
the use of phosphor to enable White light from a blue LED. In             tively three metal connections are facilitated, N, P and ther-
one embodiment the lens shape is created by the surface                   mal.
tension of a drop of polymer or silicone material. In another                In another embodiment, the passivation is also removed in
embodiment the lens is created by hot embossing of a poly-                areas where there is no metal layer, only the electrically
mer, which is applied to one side of the carrier wafer. The          45   insulating layer. This can occur, if instead of the LED
carrier wafer may be further patterned to create specific drop            described previously, a standard LED is used in which the
shapes, sizes and desired surface qualities.                              metal covers only a small portion of the top of the LED. In this
    The system may be coupled to other optical elements as                case the metal layer deposited in this stage will provide the
would be appreciated by those skilled in the art. One or more             heat removal and light reflection. In this manner, the exposed
optical lens or assembly of optical lenses, Fresnel layers,          50   portions of the LED will extend beyond the metal areas. The
filters, polarizing elements, or other members can be used to             newly deposited metal will again cover substantially all of the
further affect the quality of the light provided by the LED               LED structure. In another embodiment, if the electrical pas-
device.                                                                   sivation layer is optically reflecting and heat conducting the
    FIG. 8 illustrates another exemplary cross sectional view of          layer may be maintained and the metal passivation will cover
a LED device 80. Standoff structures 837, made of a suitable         55   substantially all the LED area but will make a direct connec-
mechanically supportive material are created on the carrier               tion to the LED metal pads, and in other areas the connection
wafer. The standoff structures 837 can comprise a thermo-                 layers would be through the passivation layer, i.e. the layer
plastic material and created by embossing or injection mold-              stack would be, LED, LED passivation layer, packaging pas-
ing, or the structures can be made by applying a layer of photo           sivation layer which provides low thermal resistance and light
definable material such as polymide or solder mask and               60   reflection, packaging metal for heat conduction.
exposing the material to light using a suitable mask. The                    FIG. 12 shows a similar device 1201 to those described
standoff structures 837 can be used to encase the QD or                   above, except the passivation layer 1270 has been cut and
phosphor material 845, or alternatively to provide a cavity for           dimensioned to expose a shoulder 1202 in the device, which
the material deposition.                                                  can be shaped in a beveled or contoured or angled way as
    FIG. 9 illustrates a light emitting device 90 similar to those   65   shown in FIG. 13 to provide a mirrored surface 1302 for
described above except that a recess is etched into the carrier           reflecting light out of the light emitting device 1301. The
layer 920 exposing the metallic interface 925 separating the              passivation layer 1370 or shoulders 1302 can be patterned in
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a manner to provide for example optical reflectivity by                   be cut apart or in other embodiments can be left arranged on
angling or shaping the edges of passivation layer 1370 or                 the substrate without cutting so as to form a multi LED unit or
shoulders 1302.                                                           light source.
   FIG. 14 illustrates another exemplary light emitting LED                  The present invention should not be considered limited to
device 1401. Similarly numbered elements discussed earlier           5    the particular embodiments described above, but rather
are common to or similar to those in this exemplary embodi-               should be understood to cover all aspects of the invention as
ment. Here, contact holes 1472, 1474 are drilled or etched                fairly set out in the present claims. Various modifications,
into passivation layer material 1470, in one embodiment by                equivalent processes, as well as numerous structures to which
use of a laser. This exposes a first contact 1472 at metal pad            the present invention may be applicable, will be readily
                                                                     10   apparent to those skilled in the art to which the present inven-
1430 and a second contact 1474 at carrier 1420. If SiN or
                                                                          tion is directed upon review of the present disclosure. The
SiO2 are used, a plasma etch can also be used to create the
                                                                          claims are intended to cover such modifications.
contact holes. If the passivation layer is photo definable, a
lithography step can expose the pads. In another embodiment                  What is claimed is:
the organic passivation layer is etched using a hard mask            15      1. A light emitting device, comprising:
made of inorganic material such as a thin metal or insulating                a semiconductor LED including doped and intrinsic
layer and then using plasma etch to remove the organic mate-                    regions thereof;
rial.                                                                        a conducting support layer disposed proximal to a first
   If a laser is used to drill through the passivation layers 1570              surface of said semiconductor LED and separated there-
as shown in FIG. 15, the laser drilling can either stop at the       20         from by a metallic interface with no additional interven-
metal pad (blind via) as above, or it can continue so as to cut                 ing layers, said conducting support layer is no more than
through the metal pad 1530 as shown in FIG. 15 to make                          50 microns in thickness;
electrical contact therewith.                                                an optically permissive layer proximal to a second surface
   It is noted that passivation layer 1570 is cut or etched away                of said semiconductor LED, said first and second sur-
as stated above so as to provide conducting access at least to       25         faces of said semiconductor LED being on opposing
the N-type semiconductor proximal to laser drilled recess                       faces thereof;
1572 and the P-type semiconductor proximal to the metalli-                   an optically definable material proximal to or within said
zation layer as described earlier.                                              optically permissive layer that affects an optical charac-
   FIG. 16 illustrates yet another embodiment of a light emit-                  teristic of emitted light passing therethrough;
ting LED device 1601. Here, a metal seed layer 1680 is               30      an optically permissive flat cover substrate covering at least
                                                                                a portion of the above components; and
applied over the passivation layer 1670. The metal seed layer
                                                                             a metal pad between said semiconductor LED and said
1680 may be composed of any of titanium, chrome, nickel,
                                                                                optically permissive layer,
palladium, platinum, copper or combinations of these. The
                                                                             wherein, said first surface of said semiconductor LED, said
seed layer can be thickened using sputtering over the initial        35         metallic interface and said conducting support layer are
seed layer. In one embodiment the seed layer 1680 is pat-                       all electrically coupled to one another.
terned using electrophoretic deposited photo resist, spray                   2. The light emitting device of claim 1, further comprising
coating resist, or thick resist, in one embodiment greater than           a lens covering at least a portion of said optically permissive
50 microns. The resist is patterned to create the electrical              flat cover substrate.
routing connections and under bump metallization (UBM).              40      3. The light emitting device of claim 1, further comprising
   After patterning the resist, a thick metal layer, in one pre-          a passivation layer disposed on said conducting support layer,
ferred embodiment between 10 and 40 microns is plated in the              said passivation layer being substantially non-conductive yet
defined patterns. The resist is removed and the bare seed layer           provided with at least a pair of apertures for connection of
is etched, in one non-limiting embodiment by using a wet                  conducting electrodes thereto.
metal etch. In one embodiment a solder mask is applied to            45      4. The light emitting device of claim 3, said passivation
form such a layer. In operation, the layer 1680 provides                  layer further comprising a shaped edge configured to reflect
enhanced electrical conductivity between external electrical              light generated by said light emitting device outwardly there-
components and the metallization layer or conducting pads of              from.
the device. This layer 1680 also provides maximum enhanced                   5. The light emitting device of claim 1, further comprising
heat removal from LED layer 1600. A drilled aperture 1685            50   a mechanical offsetting member providing a dimensional
may be provided to allow electrical contact with metal pad                spacing between said optically permissive layer and said
1630, or may be filled in with some conducting or non-                    semiconductor LED layer.
conducting material after formation.                                         6. The light emitting device of claim 1, further comprising
   FIG. 17 illustrates an exemplary light emitting LED device             at least one aligriment mark indicative of a required position
1701 where the edges of the passivation layer 1770 and the           55   of said device with respect to said optically permissive flat
metallizing layer 1780 have been beveled, cut, formed, cast,              cover substrate.
shaped or otherwise contoured at the edges thereof to form a                 7. The light emitting device of claim 1, wherein the metal-
configuration that is suitable for reflecting light upwards and           lic interface is adjacent to both the conducting support layer
out of the device. In some embodiments the metallization                  and the semiconductor LED.
layer 1780 acts like silvering of a face of a mirror to achieve      60      8. The light emitting device of claim 1, said conducting
the above result.                                                         support layer comprises copper.
   FIG. 18 illustrates how more than one LED device like                     9. A method for making a light emitting device, the method
those described above can be manufactured on a single manu-               comprising:
facturing platform or wafer. Here, two LED units 1801a and                   growing a plurality of doped layers in a light emitting
1801b are electrically connected in the metallization step of        65         device (LED) on a substrate;
manufacturing the units. The LEDs can be connected in par-                   depositing a metallic interface onto said LED opposite to
allel, serial or combinations of such connections. These can                    said substrate;
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   electroplating a conductive support layer onto said metallic
       interface;
   lifting off said substrate from said LED;
   forming a metal pad on the newly exposed LED surface;
   etching a recess through said conductive support layer, said     5
      metallic interface and said LED so as to allow electrical
       contact with said metal pad and consequently a first
       doped layer of said LED;
   providing electrical contact to said conductive support
       layer and consequently to a second doped layer of said       10
       LED so as to bias the LED using a bias voltage applied
      between said first and second doped layers of the LED;
       and
   securing the LED to an optically permissive cover sub-
       strate using an optically permissive layer including an      15
       optically definable material through which light gener-
       ated by said LED can pass.
   10. The method of claim 9, further comprising applying an
electrically isolating passivation layer to said conductive sup-
port layer, and further providing at least a pair of apertures in   20
said passivation layer for electrical coupling of a correspond-
ing pair of biasing electrodes with corresponding first and
second doped layers of said LED.
   11. The method of claim 10, further comprising placing
one or more alignment marks on said LED so as to permit             25
proper positioning of said LED with respect to said optically
permissive cover substrate.

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